        Case 2:23-cv-01281-DSC-KT Document 15 Filed 11/29/23 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 ELITE CASINO EVENTS, LLC,                          )
                                                    )
                          Plaintiff,                ) Civil Action No. 2:23-cv-01281-LPL
         V.
                                                    )
                                                    )
 ELITE CASINO EVENTS, LLC,                          ) ELECTRONICALLY FILED
                                                    )
                 Defendant.                         )

  ORDER AND ENTRY OF DEFAULT JUDGMENT AGAINST DEFENDANT, ELITE
                       CASINO EVENTS, LLC

                    29thday of -November
       AND NOW, this_              -     , 2023, upon consideration of Plaintiffs Motion
                                         -



for Default Judgment, the Declarations of Dawn Takacs and David G. Oberdick, Esq, and the

supporting Brief, and upon further consideration that Defendant, Elite Casino Events, LLC (a

Texas limited liability company), has failed to plead or otherwise defend in this action, and default

having been entered, IT IS HEREBY ORDERED THAT:

       1.      Judgment is entered in favor of Plaintiff, Elite Casino Events, LLC (a Pennsylvania

limited liability company, and against Defendant, Elite Casino Events, LLC (a Texas limited

liability company) in the amount of $42,421.83, plus post-judgment interest any future damages

sustained by Plaintiff.

        2.     Defendant Elite Casino Events, LLC (a Texas limited liability company) is directed

to provide an accounting of its profits, i.e., all revenues and expenses on a yearly basis, beginning

as of January 1, 2014, and through to the present; and

       3.      Defendant Elite Casino Events, LLC (a Texas limited liability company) is

pennanent enjoined from using the trademarks and/or names "Elite Casino Events" and "Elite

Casino Event" throughout all of the United States, and, in particular, that:
      Case 2:23-cv-01281-DSC-KT Document 15 Filed 11/29/23 Page 2 of 2



           A.      Effective immediately, the current Registrant of Defendant's website,
           Domains By Proxy, LLC, and/or Defendant, Elite Casino Events, LLC (Texas),
           must suspend and/or remove all content associated with the domain name
           "elitecasinoevent.com" and take all steps necessary to thereafter transfer the
           registration of the domain name "elitecasinoevent.com" to Plaintiff, Elite Casino
           Events, LLC as the new Registrant, with associated updating of the contact
           information for this domain name.

           B.      Effective immediately, Defendant is enjoined permanently from using
           "Elite Casino Events" or "Elite Casino Event" on any social media platform, and
           Defendant, Elite Casino Events, LLC (Texas), and/or the hosts of any social media
           platforms hosting an account associated with Defendant, Elite Casino Events, LLC
           (Texas) must suspend and/or remove all content associated with each, including,
           but not limited to the following social media accounts:

                           1.   https://www.linkedin.com/company/elite-casino-events-llc
                          n.    https://twitter.com/CasinoElite
                         m.     https://www.facebook.com/TXEliteCasinoEvents
                         1v.    https://www.instagram.com/EliteCasinoEvents/
                          v.    https://www.youtube.com/@ElitecasiNoevents

            C.      Effective immediately, Defendant, Elite Casino Events, LLC (Texas), is
            enjoined permanently from using the trademarks and/or names Elite Casino Events
            or Elite Casino Event as a registered business name.

           D.      Effective immediately, Defendant, Elite Casino Events, LLC (Texas), is
           enjoined permanently from using the trademarks and/or names Elite Casino Events
           or Elite Casino Event in any other manner physically, orally or electronically and
           in connection with any products or services, and Defendant, Elite Casino Events,
           LLC (Texas), is directed to destroy any goods and merchandise in the possession
           of and/or being used by Defendant, Elite Casino Events, LLC (Texas), that bear the
           trademarks and/or names Elite Casino Events or Elite Casino Event.


                                        BY THE COURT:



       November 29, 2023
Dated:---------                             s/David Stewart Cercone
                                          David Stewart Cercone
                                          Senior U.S. District Court Judge




                                           -2-
